UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF LOUISTANA

CIVIL ACTION NO. 2:21-cv-00080

DONNA LOU and DAREN PARSA, on their own behalf
and on behalf of their deceased minor child,
E.P.

Plaintiffs,
Vv.

SHERLEE JOSEPH BP. LORINTO, LLL, GHAD PLEPLELD,
RYAN VAUGHT, STEVEN MEHRTENS, SHANNON GUIDRY,
NICK VEGA, MANUEL ESTRADA, MYRON GAUDET, JOHN
DOES 1-3, VICTORY REAL ESTATE INVESTMENTS LA,
LLC and WESTGATE INVESTORS NO LLC D/B/A
WESTGATE SHOPPING CENTER, ABC INSURANCE
COMPANY, and XYZ INSURANCE,

Defendants.

Videotaped Deposition of CHAD
MICHAEL PITFIELD, given the above-entitled
cause, pursuant to the following stipulation,
before Lori L. Marino, Certified Shorthand
Reporter, in and for the State of Louisiana,
at the Jefferson Parish Sheriff's Office, 1233
Westbank Expressway, Building B, sth Floor,
Harvey, Louisiana 7/0058 on Thursday,

September 22, 2022, commencing at 9:07 AM.

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36

detail officers covering the Sundays you
weren't working?

A Yes.

Oo What were some of the other private
detail customers you worked for?

A I was the -- I handled Lafreniere
Park in Jefferson Parish, and I also
previously was the detail administrator for
Best Buy in Jefferson Parish.

O Ts Lafreniere Park, is that -- was
that under your jurisdiction as Director of
Parks and Rec for the City of Kenner.

A No. It's not in the City of Kenner.

o Did each customer pay the same hourly
rate for your private detail work, or did it

vary by customer?

A It could vary.
© Was it $30 an hour for Westgate?
A I believe at some point, yeah. I'm

not sure what it is currently or what it was
towards the end, but at some point, yes, that
was --

o Okay, and the policies and procedures
that you were supposed to follow in your role

doing private detail work for customers were

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37

the policies and procedures you were trained
on by JPSO, correct?
. MR. ZIBILICH:
Object to the form. You can
answer it.
THE WITNESS:
Correct. The Sheriff's Office
has SOPs for public assignments.
BY MR. MOST:
o So your training and standard

operating procedures that applied when you

were a full-time JPSO employee also applied to

your work when you were doing private detail
work, agreed?

A Correct.

0 And the amount that customers would
pay for your private detail work, would that
come directly to you?

A In which way?

Oo Yeah. So did you receive a check
from the customer, or did you receive a check
oer another form of payment from JPSO for your
private detail work?

A It varied per location.

© How were you paid by Westgate?

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61

scene vehicle?

A Again, per officer.

o By per officer, do you mean the
officer brings it with them?

A Yeah, depending. I mean, the
sheriff's office will provide you with basic
gloves, that kind of stuff. Most guys make
their own individual first aid kits, and
depending on your Level of training, you
may -- we have first responders that have
full-on trauma kits in their cars. Again, it
depends on the officer themself.

Oo I think it would be helpful to be a
little more specific. So on the date of the
death of EP, you had the use of a JPSO crime
scene vehicle in your role as a private
detail; is that correct?

A The vehicle that was assigned to me

by the sheriff's office, correct.

o Was a crime scene vehicle?

A COrrect.

o And so in it, there was a computer?
A COPrreeis

o And no security screen?

A COrrece..

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62

Q

gloves?

A

Some basic first aid stuff, like

And some medical equipment that I

would have had.

Q

So it had some basic medical

equipment, like gloves, and you brought

additional medical equipment?

A

vehicle.

Q

Correct. It stays stocked in the

So this was a vehicle assigned

particularly to you?

A

Q
A

Q

That's correct.
Was it a take-home vehicle?
Yes.

What was in the glove box? Any

equipment in the glove box of that vehicle?

A
Q

T don't recall.

Was there equipment in the trunk of

that vehicle?

A
Q
A
Q
A
Q

Yeah.

Crime scene forensic equipment?
Correct.

Any restraint devices?

No.

So the only restraint device you had

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63

on that day personally was handcuffs; is that

correct?

A Corrects

Oo And they were your personally owned
handcuffs?

A That's correct.

0 So the loadout of a crime scene

vehicle is, as we've established, different
from that of a standard patrol vehicle,
correct?

A The main difference is it has more
equipment, and it doesn't have the prisoner
security screen.

0 So the crime scene vehicle has more
equipment than a standard patrol vehicle?

A YES x

o Does a standard patrol vehicle have
restraint devices other than handcuffs?

A I couldn't speak to that.

Oo And this -- the loadout of your crime
scene vehicle, other than what you provided
was provided by JPSO, correct?

A That's correct.

o So JPSO did not provide you with a

RIPP Hobble device, agreed?

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MR. ZIBILICH:
Are you good?
THE WITNESS:
I'm good.
MR. AIBILICH:
He's going to stop in about 15
minutes for a little while.
MR. MOST:
Yeah.
BY MR. MOST:

© All right, so you -- in January,
2020, you had a regularly assigned shift
working private detail at Westgate, correct?

A That's correct.

o And so when it was time for your
detail, you would the take your JPSO take-home
vehicle and you would go to Westgate, correct?

A COrrece..

o Your role there was to be patrolling
the Westgate Shopping Center, correct?

A COrrect.

o You were serving and protecting the
patrons and the tenants of the Westgate
Shopping Center for Westgate, correct?

MR. KAUL:

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o At that particular time, you mean the
time around the death of EP?

A Corrects

Oo Was there like a storage closet, or
was it behind a desk somewhere? Where was the
cell phone?

A It was in the manager's office.

o So when it was time for your shift at
Westgate, you would go to the Laser Tag, go to
the manager's office, get the cell phone?

A COrrece..

o And then, return it when you were
done with your shift?

A Or hand it off to the next officer
that was relieving.

O You said at that time it, was stored
in the Laser Tag manager's office. Where was
it stored at other times?

A At the end, before I completed, it
was stored inside the Academy Sports, because
the Laser Tag had closed.

O Was there any other tools, devices,
anything else provided by Westgate for your
role of special detail?

A No.

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98

o Westgate gave the instructions of
where you were supposed to patrol on the
shopping center premises, agreed?

MR. KAUL:

Object to form.
THE WITNESS:

The property.

BY MR. MOST:

o And it was Westgate that told you
this is where your suppose to be patrolling,
high?

MR. KAUL:

Object to form.
THE WITNESS:

Tt would come from the detail
administrator, Deputy Canatella, but
yes, we were there for the Westgate
Shopping Center.

BY MR. MOST:

Oo If you needed to use the restroom

while you were on the private detail for

Westgate, where would you use the restroom?

A W could go inside any of businesses.
o Did you have a break room or anything
like that?

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125

MR. KAUL:
Object to the form.
THE WITNESS:
Yes .
BY MR. MOST:
o So at that point, with him pushing
his hips up, he was struggling, agreed?
MR. KAUL:
Object to the form.
THE WITNESS:
I don't know to what extent
other than trying to get up.
BY MR. MOST:
o But he was struggling with you is
what I mean; is that right?
A YES x
o And did you know if he was struggling
to breathe?
A I didn't. No appearance of that.
o But also no reason to think he wasn't
struggling to try and breathe, agreed?
MR. ZIBILICH:
Object to the form.
MR. KAUL:

Object to the form.

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126

THE WITNESS:

Yeah, I mean, I had -- there was
no indication that he was having
respiratory issues.

BY MR. MOST:

o So you didn't have any indication
that he was or was not having respiratory
issues, agreed?

A COrrect.

o At some point, you told EP's mother
not to put something in front of his face?

A COrrect.

Oo You told her not to put something in
front of EP's face so as to not prevent any
impairment of his breathing, agreed?

A That's correct.

o Because you understood at that point
with EP in the prone position, impairment of
breathing was a risk factor, agreed?

MR. ZIBILICH:

Object to the form. Go ahead.
MR. KAUL:

Object to the form.

THE WITNESS:

It doesn't matter. If you're

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231

anybody who was employed by Westgate?
MR. MOST:
Objection.
THE WITNESS:
That's correct.
BY MR. KAUL:

o You testified that you received a
phone call from the phone provided to you on
your detail when you were notified of what was
happening in the parking lot.

A That's correct.

o At that point, were you under any
general directive or protocol provided by
Westgate that you were to follow?

A No, Sir.

o At that point, were you at your
discretion as a reserve deputy officer to
respond to that incident?

A That's correct.

Oo In that moment, you would follow your
JPSO training?

A That's correct.

0 You had mentioned also that as of --
TIT can't recall if it's as a deputy officer or

reserve deputy, but you were under an

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233

kind of stuff.

0 Let's narrow it to a business that
would relate Similarly to the Westgate
Shopping Center. So if you're providing
detail to a retail business, --

A No.

o -- you've never received any sort of
training outside of what you've been trained
as a JPSO officer?

A That's correct.

O Aside from Donald Canatella, were
there any other administrators who oversaw the
Westgate detail for the JPSO?

A Not that I'm aware of.

o You said you -- on average, you
worked about two detail shifts a month. I
believe, it was every other Sunday from

10:00 AM to 3:00 PM.

A That's correct.

Oo How much were you paid hourly?

A T believe at the time, it was $30 an
hour.

o Have you had any conversations with

anybody at Westgate following this incident?

A No, Sir.

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